Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 1 of 101 PageID #:12




                               EXHIBIT 2
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 2 of 101 PageID #:13
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 3 of 101 PageID #:14
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 4 of 101 PageID #:15
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 5 of 101 PageID #:16
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 6 of 101 PageID #:17
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 7 of 101 PageID #:18
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 8 of 101 PageID #:19
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 9 of 101 PageID #:20
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 10 of 101 PageID #:21
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 11 of 101 PageID #:22
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 12 of 101 PageID #:23
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 13 of 101 PageID #:24
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 14 of 101 PageID #:25
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 15 of 101 PageID #:26
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 16 of 101 PageID #:27
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 17 of 101 PageID #:28
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 18 of 101 PageID #:29
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 19 of 101 PageID #:30
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 20 of 101 PageID #:31
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 21 of 101 PageID #:32
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 22 of 101 PageID #:33
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 23 of 101 PageID #:34
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 24 of 101 PageID #:35
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 25 of 101 PageID #:36
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 26 of 101 PageID #:37
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 27 of 101 PageID #:38
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 28 of 101 PageID #:39
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 29 of 101 PageID #:40
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 30 of 101 PageID #:41
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 31 of 101 PageID #:42
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 32 of 101 PageID #:43
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 33 of 101 PageID #:44
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 34 of 101 PageID #:45
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 35 of 101 PageID #:46
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 36 of 101 PageID #:47
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 37 of 101 PageID #:48
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 38 of 101 PageID #:49
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 39 of 101 PageID #:50
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 40 of 101 PageID #:51
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 41 of 101 PageID #:52
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 42 of 101 PageID #:53
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 43 of 101 PageID #:54
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 44 of 101 PageID #:55
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 45 of 101 PageID #:56
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 46 of 101 PageID #:57
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 47 of 101 PageID #:58
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 48 of 101 PageID #:59
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 49 of 101 PageID #:60
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 50 of 101 PageID #:61
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 51 of 101 PageID #:62
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 52 of 101 PageID #:63
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 53 of 101 PageID #:64
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 54 of 101 PageID #:65
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 55 of 101 PageID #:66
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 56 of 101 PageID #:67
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 57 of 101 PageID #:68
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 58 of 101 PageID #:69
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 59 of 101 PageID #:70
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 60 of 101 PageID #:71
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 61 of 101 PageID #:72
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 62 of 101 PageID #:73
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 63 of 101 PageID #:74
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 64 of 101 PageID #:75
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 65 of 101 PageID #:76
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 66 of 101 PageID #:77
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 67 of 101 PageID #:78
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 68 of 101 PageID #:79
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 69 of 101 PageID #:80
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 70 of 101 PageID #:81
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 71 of 101 PageID #:82
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 72 of 101 PageID #:83
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 73 of 101 PageID #:84
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 74 of 101 PageID #:85
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 75 of 101 PageID #:86
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 76 of 101 PageID #:87
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 77 of 101 PageID #:88
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 78 of 101 PageID #:89
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 79 of 101 PageID #:90
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 80 of 101 PageID #:91
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 81 of 101 PageID #:92
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 82 of 101 PageID #:93
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 83 of 101 PageID #:94
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 84 of 101 PageID #:95
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 85 of 101 PageID #:96
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 86 of 101 PageID #:97
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 87 of 101 PageID #:98
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 88 of 101 PageID #:99
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 89 of 101 PageID #:100
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 90 of 101 PageID #:101
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 91 of 101 PageID #:102
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 92 of 101 PageID #:103
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 93 of 101 PageID #:104
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 94 of 101 PageID #:105
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 95 of 101 PageID #:106
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 96 of 101 PageID #:107
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 97 of 101 PageID #:108
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 98 of 101 PageID #:109
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 99 of 101 PageID #:110
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 100 of 101 PageID #:111
Case: 1:21-cv-03589 Document #: 1-2 Filed: 07/06/21 Page 101 of 101 PageID #:112
